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11                                   UNITED STATES DISTRICT COURT

12                              SOUTHERN DISTRICT OF CALIFORNIA

13

14   MAUREEN BACKE, Individually and on             Lead Case No. 08-CV-01689-H (RBB)
     Behalf of All Others Similarly Situated,       (Consolidated with No. 08-CV-01714-H
15                                                  (RBB))
                       Plaintiffs,
16                                                  CLASS ACTION
            v.
17                                                  DEFENDANTS’ MEMORANDUM OF
     NOVATEL WIRELESS, INC., PETER V.               POINTS AND AUTHORITIES IN
18   LEPARULO, GEORGE B. WEINERT,                   OPPOSITION TO LEAD PLAINTIFFS’
     ROBERT M. HADLEY, SLIM S. SOUISSI              MOTION FOR CLASS
19   and CATHERINE F. RATCLIFFE,                    CERTIFICATION

20                     Defendants.                  Date: April 26, 2010
                                                    Time: 10:30 a.m.
21                                                  Place: Courtroom 13
                                                           (The Honorable Marilyn L. Huff)
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                                                                  OPPOSITION TO MOTION FOR
                                                                       CLASS CERTIFICATION
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 1                                           I. INTRODUCTION1
 2             Defendants submit this memorandum of points and authorities, as well as the declarations
 3   of David Tabak, Ph.D., and Travis Biffar, in opposition to Lead Plaintiffs’ motion for class
 4   certification. Lead Plaintiffs have proposed a single unitary class consisting of “all persons who
 5   purchased [Novatel] common stock between February 27, 2007 and November 10, 2008.”
 6   (Plaintiffs’ Memo., at 1.) The following problems exist with respect to class certification, among
 7   others:
 8             First, there should be two classes, because Lead Plaintiffs assert two distinct sets of
 9   claims, i.e., an insider trading claim and a misrepresentation claim.
10             Second, neither class should be certified, because Plumbers and Western Penn are not
11   adequate class representatives for lack of typicality and adequacy.
12             Third, an insider trading class may not be certified, because Plumbers and Western Penn
13   did not purchase contemporaneously with any of the alleged inside sales.
14             Fourth, with regard to the misrepresentation class, the “fraud on the market” presumption
15   does not apply to the alleged disclosures on July 20, 2007 and November 10, 2008. Consequently,
16   the misrepresentation class must be redrawn to exclude purchasers who sold before the first
17   corrective disclosure (February 20, 2008), as well as those who bought after the last corrective
18   disclosure (August 19, 2008).
19

20             1
               “Plumbers” means Plumbers & Pipefitters Local No. 562 Pension Fund; “Western Penn”
21   means Western Pennsylvania Electrical Employees Pension Fund; “Lead Plaintiffs” means
     Plumbers and Western Penn; “Novatel” or the “Company” means defendant Novatel Wireless,
22   Inc.; “Plaintiffs’ Memo.” means the Memorandum of Law in Support of Lead Plaintiffs’ Motion
     for Class Certification (Dkt. No. 121-1); “Dr. Tabak” means Dr. David Tabak, Ph.D.; “Tabak
23   Decl.” means the Declaration of Dr. Tabak; “Mr. Steinholt” means Bjorn I. Steinholt, CFA;
     “Steinholt Decl.” means the Declaration of Mr. Steinholt, dated January 8, 2010; “Biffar Decl.”
24   means the Declaration of Travis Biffar; “Complaint” or “CC” means the consolidated complaint
     filed in this action on January 9, 2009 (Dkt. No. 23); “Sprint” means Sprint Nextel Corporation;
25   “Britton Decl.” means the Declaration of Douglas R. Britton in Support of Lead Plaintiffs’ Motion
     for Class Certification (Dkt. No. 121-2); “Stoss Depo.” means the transcript of the deposition of
26   Anthony Stoss (Biffar Decl, Ex. I); “Wallace Depo.” means the transcript of the deposition of
     Michael Wallace (Biffar Decl., Ex. H); “Anguilm Depo.” means the transcript of the deposition of
27   Derek Anguilm (Biffar Decl., Ex. J); “Dunleavy Depo.” means the transcript of the deposition of
     Michael Dunleavy (Biffar Decl., Ex. E); “Murphy Depo.” means the transcript of the deposition of
28   Daniel Murphy (Biffar Decl., Ex. F).
                                                                             OPPOSITION TO MOTION FOR
                                                        1                         CLASS CERTIFICATION
                                                                                      08-CV-1689-H (RBB)
 1                                        II. PERTINENT FACTS
 2   A.      The Insider Trading Class.
 3
             According to Lead Plaintiffs, at some point in time in 2007, defendants learned that Sprint
 4
     planned to transition from an older Novatel USB modem, the “720,” to a newer Novatel USB
 5
     modem, the “727.” Lead Plaintiffs allege that defendants knew this transition would have a
 6
     negative impact on Novatel’s stock price and, therefore, sold their stock before this news became
 7
     public through a rumor which allegedly circulated on or about July 20, 2007. Class discovery has
 8
     revealed that the rumor regarding the Sprint transition actually had been public for days prior to
 9
     July 20, 2007 (see Biffar Decl., Ex. I, Stoss Depo., at 20:5-27:6, Exs. 4, 15, 16). Significantly,
10
     Novatel’s stock price did not move at the time the rumor was first circulating. Lead Plaintiffs did
11
     not purchase stock on the same day that any of the defendants sold their stock before the market
12
     learned of the rumor.
13
     B.      The Misrepresentation Class.
14
             Plaintiffs allege two sets of misstatements by defendants Peter Leparulo, Novatel’s CEO,
15
     and George B. Weinert, Novatel’s former president: (1) statements concerning Novatel’s revenue
16
     reported in the first quarter of 2008 (CC, ¶¶ 33-37); and (2) statements concerning the competitive
17
     position of the Company and general level of market share and demand for the Company’s
18
     products (CC, ¶¶ 51-55, 58-60, 63-64).
19
             With respect to revenue recognition, Lead Plaintiffs allege the following sequence of
20
     events. On April 14, 2008, in light of deteriorating market conditions, Novatel issued a press
21
     release stating that its revenues for the first quarter of 2008 were expected to be $91 million, or
22
     $19 million less than the Company’s prior “guidance.” (CC, ¶ 76.) On May 1, 2008, Novatel
23
     announced its first quarter 2008 results, which included $91 million in revenues. (CC, ¶ 78.)
24
     Plaintiffs allege that $3.4 million, or less than four percent (4%) of this revenue figure, was
25
     comprised of “false” revenue. (CC, ¶¶ 33, 37.) Less than two weeks later, on May 13, 2008,
26
     Novatel publicly announced, in a Form 12b-25, that it would be unable to file its Form 10-Q for
27
     the first quarter of 2008. (CC, ¶ 35.) Novatel also publicly announced, in the same Form 12b-25,
28
                                                                            OPPOSITION TO MOTION FOR
                                                       2                         CLASS CERTIFICATION
                                                                                     08-CV-1689-H (RBB)
 1   that its audit committee had voluntarily undertaken an enhanced review of the accounting for a
 2   specific customer contract. (Biffar Decl., Ex. AA, at 672.) One week later, on May 20, 2008,
 3   Novatel publicly announced that its audit committee had undertaken an ongoing, “expanded
 4   enhanced review of the Company’s revenue cut off procedures and internal controls related to
 5   certain customer contracts….” (Id., Ex. BB, at 676.) On August 19, 2008, Novatel filed another
 6   Form 8-K, stating that the audit committee’s review resulted in a preliminary determination to
 7   move $3.4 million in actual revenue from the first quarter of 2008 to the second quarter of 2008.
 8   (CC, ¶ 36.) After the audit committee had completed its review, Novatel filed its Forms 10-Q for
 9   the first and second quarters of 2008, on November 10, 2008, and confirmed the movement of
10   $3.4 million from the first quarter of 2008 to the second quarter of 2008 (with no impact on
11   earnings per share). (CC, ¶ 37.) Also at this time, Novatel publicly announced that it had
12   concluded that there was a material weakness in its internal financial controls that existed as of
13   March 31, 2008 and June 30, 2008. (Biffar Decl., Exs. CC, at 701; DD, at 746.)
14           With respect to the general statements concerning the Company’s performance, Lead
15   Plaintiffs allege that Messrs. Leparulo and Weinert made affirmative statements about the level of
16   demand for Novatel’s products (CC, ¶¶ 51, 54-55, 59-60, 64), even though they were generally
17   aware of a loss of market share (CC, ¶¶ 57(a)(iii), 62(a)(ii), 66(a)(ii), 73(a)(ii)). Class discovery
18   has revealed that Lead Plaintiffs’ investment managers independently tracked and were aware of
19   Novatel’s actual demand and market share (see Biffar Decl., ¶ 3, Exs. H, Wallace Depo., at 43:1-
20   48:18; J, Anguilm Depo., at 39:1-40:12, 41:17-47:8), and that the investment managers did not
21   consider the alleged accounting error to be relevant or material to their investment decisions. (See
22   id., Exs. H, Wallace Depo., at 67:1-69:16; J, Anguilm Depo., at 122:8-124:15.) Contrary to Lead
23   Plaintiffs’ contentions, there was no cover-up; the information that was supposedly kept from the
24   investing public was, in fact, public and known to Lead Plaintiffs’ own managers.
25   C.      The Curious Timing of Lead Plaintiffs’ Stock Purchases.
26
             Even though the rumor of the Sprint transition was supposedly a “red flag” which
27
     indicated that “Novatel was losing position at its largest customer and precious market share,”
28
                                                                            OPPOSITION TO MOTION FOR
                                                       3                         CLASS CERTIFICATION
                                                                                     08-CV-1689-H (RBB)
 1   (Plaintiffs’ Memo., at 4),2 and even though the individual defendants’ stock sales prior to this
 2   transition were publicly announced on Forms 4, Lead Plaintiffs continued to purchase Novatel
 3   stock. Indeed, Lead Plaintiffs continued to purchase Novatel stock during the putative class
 4   period and beyond despite repeated “partial revelations” of the alleged fraud. For example,
 5               •   Western Penn purchased Novatel stock on June 26, 2008, despite Novatel’s release
                     of disappointing first quarter 2008 results on April 14, 2008 (which allegedly
 6                   revealed the “partial” truth of the demand for its products, CC, ¶ 127), and
                     Novatel’s announcement on May 13, 2008 that it would be unable to finalize its
 7                   financial statements to file its Form 10-Q on time due to an “enhanced review” of
                     Novatel’s accounting by the audit committee. (Britton Decl., Ex. 3, at 508; Biffar
 8                   Decl., Ex. AA, at 672.)
 9               •   Plumbers was completely divested of Novatel stock during most of the putative
                     class period, waiting to purchase stock until May 28, 2008, after the rumored
10                   Sprint cancellation, after the disappointing revenue guidance on February 20, 2008
                     and alleged “partial” revelation of truth regarding product demand, after the
11                   disappointing first quarter 2008 results on April 14, 2008 and further “partial”
                     truth regarding demand, and after the Company announced on May 13, 2008 that it
12                   would be unable to finalize its financial statements to file its Form 10-Q on time
                     due to an “enhanced review” of Novatel’s accounting by the audit committee.
13                   (Britton Decl., Ex. 2, at 508.)
14
            Finally, although it might seem incredible, Lead Plaintiffs continued to purchase Novatel
15
     stock after the filing of this lawsuit. The initial complaint in this action was filed on September
16
     15, 2008. On November 17, 2008, Plumbers and Western Penn moved for appointment as lead
17
     plaintiffs. Each signed sworn certifications that they had reviewed and authorized the filing of a
18
     complaint. (Biffar Decl., Exs. N-O.) Nevertheless, Lead Plaintiffs continued to purchase Novatel
19
     stock after they signed their certifications. (Britton Decl., Exs. 2-3.) When confronted with these
20
     facts, Lead Plaintiffs denied responsibility – it was their investment managers who were actually
21
     purchasing Novatel stock, not them. (Biffar Decl., Exs. E, Dunleavy Depo., at 113:5-117:6,
22
     178:15-179:14, 189:13-191:25; F, Murphy Depo., at 24:1-14.) Moreover, even after the filing of
23
     the initial complaint, which accused defendants of fraud, Plumbers did not advise its investment
24
     managers to stop purchasing Novatel stock. (Id., Ex. F, Murphy Depo., at 162:11-165:20, 181:2-
25          2
               The other “red flag,” according to plaintiffs, was Sprint’s decision to “exclude” Novatel
26   as a vendor for its new WiMax platform. (Plaintiffs’ Memo., at 3-4.) Although plaintiffs allege
     that this decision was made “[b]y the third quarter of 2007” and represented a “dramatic loss for
27   Novatel,” (CC, ¶ 20), Lead Plaintiffs have since admitted that Sprint publicly announced its
     WiMax vendors in March of 2007 (i.e., the first quarter, not the third quarter). (Biffar Decl., Exs.
28   T, at 606; U, at 617.)
                                                                           OPPOSITION TO MOTION FOR
                                                       4                        CLASS CERTIFICATION
                                                                                    08-CV-1689-H (RBB)
 1   5.) Western Penn said that it did, but its investment managers nonetheless continued to buy
 2   Novatel stock. (Id., Ex. E, Dunleavy Depo., at 113:5-117:6.) When shown the pleadings and
 3   other documents in this action which Lead Plaintiffs supposedly had authorized or verified, Lead
 4   Plaintiffs again denied responsibility – this time it was their attorneys who actually reviewed
 5   documents, it was their attorneys who knew the facts, and it was their attorneys who told them to
 6   sign verifications without knowledge of the actual facts. (Id., Exs. E, Dunleavy Depo., at 95:4-
 7   98:3, 117:9-122:10, 132:7-140:15; F, Murphy Depo., at 101:4-102:17, 118:2-125:12.)
 8                           III. STANDARDS GOVERNING THIS MOTION
 9            As the proponents of class certification, plaintiffs must meet the requirements of Rule
10   23(a) and Rule 23(b). Amchem Prods., Inc. v. Windsor, 521 U.S. 591, 613-14 (1997). Rule 23(a)
11   requires that plaintiffs establish that:
12            (1) the class is so numerous that joinder of all members is impracticable;
              (2) there are questions of law or fact common to the class;
13            (3) the claims or defenses of the representative parties are typical of the claims or
                  defenses of the class; and
14            (4) the representative parties will fairly and adequately protect the interests of the
                  class.
15

16   Fed. R. Civ. P. 23(a). Where the principal relief sought consists of money damages, as is the case
17   here, Rule 23(b) also requires that “questions of law or fact common to class members
18   predominate over any questions affecting only individual members, and that a class action is
19   superior to other available methods for fairly and efficiently adjudicating the controversy.” Fed.
20   R. Civ. P. 23(b)(3).
21            Before certifying a class, the district court must conduct a “rigorous analysis” to
22   determine whether the party seeking certification has met the prerequisites of Rule 23. Gen. Tel.
23   Co. of the Sw. v. Falcon, 457 U.S. 147, 161 (1982). To demonstrate that each of the elements of
24   Rule 23 have been met, plaintiffs may not rest on mere allegations, but must provide facts to
25   support class certification. Doninger v. Pac. Nw. Bell, Inc., 564 F.2d 1304, 1309 (9th Cir. 1977);
26   see also Hanon v. Dataproducts Corp., 976 F.2d 497, 509 (9th Cir. 1992) (the trial court is “at
27   liberty to consider evidence which goes to the requirements of Rule 23 even though the evidence
28
                                                                            OPPOSITION TO MOTION FOR
                                                       5                         CLASS CERTIFICATION
                                                                                     08-CV-1689-H (RBB)
 1   may also relate to the underlying merits of the case.”); West v. Prudential Sec., Inc., 282 F.3d 935,
 2   938 (7th Cir. 2002) (“A district judge may not duck hard questions by observing that each side has
 3   some support, or that considerations relevant to class certification also may affect the decision on
 4   the merits.”). Indeed, the Advisory Committee notes to the 2003 amendments to Rule 23 state that
 5   “[a] court that is not satisfied that the requirements of Rule 23 have been met should refuse
 6   certification until they have been met.” Fed. R. Civ. P. 23(c)(1)(C) Adv. Comm. Notes 2003.
 7   After these amendments, doubts can no longer be resolved in favor of class certification.
 8           Pertinent here, “[w]here a defendant objects on the basis of standing, class certification
 9   must be considered on a claim by claim basis.” Westways World Travel, Inc. v. AMR Corp., 218
10   F.R.D. 223, 231 (C.D. Cal. 2003) (citing Friends of the Earth, Inc. v. Laidlaw Envt’l Servs. (TOC)
11   Inc., 528 U.S. 167, 185 (2000)). Thus, the propriety of class treatment must be assessed separately
12   for plaintiffs’ insider trading claim and plaintiffs’ misrepresentation claim.
13                                             IV. ARGUMENT
14   A.      Separate Classes Are Necessary for the Insider Trading and Misrepresentation
             Claims.
15

16           A single class should not be certified because, contrary to Lead Plaintiffs’ assertion, all

17   class members do not assert the same legal theories and do not allege the same facts. Indeed, there

18   are separate theories of recovery being advanced for, on the one hand, insider trading and, on the

19   other hand, misrepresentations concerning revenue recognition and the Company’s general

20   performance. See Fed. R. Civ. P. 23(c)(5) (“When appropriate, a class may be divided into

21   subclasses that are each treated as a class under this rule.”).

22           Lead plaintiffs conceded that class certification requires that class members’ claims be

23   based on the same legal theory (Plaintiffs’ Memo., at 13), but gloss over the fact that their insider

24   trading claim is a fundamentally different claim than their misrepresentation claims. See In re

25   Enron Corp. Sec. Litig., 206 F.R.D. 427, 441 (S.D. Tex. 2002) (typicality requires that the class

26   members’ claims arise “from the same event or course of conduct that gives rise to claims of other

27   class members and….[are] based on the same legal theory.”). Given the fundamental differences

28   between these two theories of recovery, separate insider trading and misrepresentation classes are
                                                                            OPPOSITION TO MOTION FOR
                                                        6                        CLASS CERTIFICATION
                                                                                     08-CV-1689-H (RBB)
 1   warranted, as courts throughout the county have widely recognized. See Feldman v. Motorola,
 2   Inc., No. 90 C 5887, 1994 U.S. Dist. LEXIS 14809, at *4 n.2 (N.D. Ill. Oct. 14, 1994) (“Because
 3   an insider trading claim must be based on a particular inside trade, it will probably be necessary to
 4   certify subclasses of class members who traded Motorola stock contemporaneously with a
 5   particular trade by defendant.”) (citation omitted); In re Genentech, Inc. Sec. Litig., No. C-88-
 6   4038-DLJ, 1990 U.S. Dist. LEXIS 11389, at *20-21 (N.D. Cal. June 8, 1990); Margaret Hall
 7   Foundation, Inc. v. Strong, No. 84-405-N, MDL No. 584, 1987 U.S. Dist. LEXIS 7517, at *3 n.2
 8   (D. Mass. July 30, 1987).
 9   B.      Lead Plaintiffs Fail to Meet the Typicality and Adequacy Requirements of Rule 23.
10           1.      Lead Plaintiffs’ Stock Purchases After Public Disclosure of the Alleged Fraud
                     Render Them Atypical and Not Proper Class Representatives.
11

12          Because Plumbers and Western Penn continued to purchase stock after they had notice of

13   their purported insider trading and fraud claims, they are subject to unique defenses of non-

14   reliance. This was recently expressed by Rocco v. Nam Tai Electronics, Inc., 245 F.R.D. 131, 136

15   (S.D.N.Y. 2007) (holding that “a person that increases his holdings in a security after revelation of

16   an alleged fraud involving that security is subject to a unique defense that precludes him from

17   serving as a class representative.”) (quoting Berwecky v. Bear, Stearns & Co., 197 F.R.D. 65, 69

18   (S.D.N.Y. 2000)); see also In re Safeguard Scientifics, 216 F.R.D. 577, 582 (E.D. Pa. 2003); Rolex

19   Employees Ret. Trust v. Mentor Graphics Corp., 136 F.R.D. 658, 664 (D. Or. 1991).3

20          Western Penn purchased Novatel stock on the same day the rumor of the Sprint transition

21   allegedly surfaced (July 20, 2007) and, then again, a week later, notwithstanding their litigation

22   position that Sprint’s decision was a “red flag[] that Novatel was losing its position at its largest
            3
23             Some courts have held that post-disclosure purchases do not automatically result in a
     finding of atypicality, reasoning that a post-disclosure purchase is still made in reliance on the
24   integrity of the market price. Lead Plaintiffs here cannot avail themselves of this line of reasoning
     because they knew neither when their investment managers purchased Novatel stock nor what
25   their investment managers relied on in purchasing Novatel stock. (See Biffar Decl., Exs. E, at
     166:17-169:10, 178:21-179:14; F, at 24:1-14, 114:17-117:2, 172:17-173:7, 181:6-9.) In fact, their
26   investment managers testified that they independently tracked Novatel’s demand and market share
     and that the accounting error was not relevant to their decisions to invest in Novatel. (See Section
27   II.B., supra.) Undoubtedly, Lead Plaintiffs would have bought regardless of the misstatements or
     omissions they allege. Significantly, all doubt need not be erased; Lead Plaintiffs only need be
28   subject to an arguable defense, a standard clearly met here.
                                                                            OPPOSITION TO MOTION FOR
                                                       7                         CLASS CERTIFICATION
                                                                                     08-CV-1689-H (RBB)
 1   customer and precious market share.” (Plaintiffs’ Memo., at 4; Britton Decl., Ex. 3, at 529.) Of
 2   course, plaintiffs and the market had long known of defendants’ plans to sell their stock, as
 3   defendants had adopted or amended their Rule 10b5-1 sales plans “months before” the market
 4   learned of the Sprint decision.4 (CC, ¶ 117.)
 5          Further, Lead Plaintiffs repeatedly purchased after disclosures of the alleged frauds, buying
 6   after Novatel’s May 13, 2008 disclosure that it was reviewing its revenue recognition for the first
 7   quarter of 2008,5 and even after their counsel filed the initial complaint in this action on
 8   September 18, 2008.6 The pattern of Lead Plaintiffs’ transactions “could therefore become the
 9   focus of the litigation and thus detract from the ability of absent class members to recover
10   damages.” Rocco, 245 F.R.D. at 136. These post-notice purchases by Lead Plaintiffs raise an
11   arguable defense, which is all that is required to defeat typicality. Shiring v. Tier Technologies,
12   Inc., 244 F.R.D. 307, 314 (E.D. Va. 2007) (“[I]t does not matter whether a unique defense
13   ultimately will prove meritorious, instead, the presence of an arguable defense is sufficient to find
14   atypicality.”) (citing Beck v. Status Game Corp., No. 89 Civ. 2923 (DNE), 1995 U.S. Dist. LEXIS
15   9978, at *11 (S.D.N.Y. July 14, 1995)).7
16           2.      Lead Plaintiffs Are Not Adequate Class Representatives Because They Have
                     Abdicated All Control to their Attorneys.
17

18          One of the principal goals of the Private Securities Litigation Reform Act of 1995

19   (“PSLRA”), 15 U.S.C. § 78u-4 et seq., was to put an end to “lawyer-driven” securities class

20
            4
21             As with every stock sale by each defendant, the adoption or amendment of a Rule 10b5-1
     sales plan by each defendant was publicly announced in filings with the SEC. (Biffar Decl., Exs.
22   X, Z.)
             5
23             Plumbers purchased shares on May 28, 2008, June 3, 2008, June 6, 2008 and June 25,
     2008. (Britton Decl., Ex. 2, at 508-11.) Western Penn purchased shares on June 26, 2008. (Id.,
24   Ex. 3, at 568.)
            6
               Plumbers purchased shares on November 26, 2008, and Western Penn purchased shares
25   on October 13, 2008. (Britton Decl., Exs. 2, at 528; 3, at 572.)
             7
26             The federal securities laws do not permit Lead Plaintiffs to buy a lawsuit. In re Mercury
     Interactive Corp. Deriv. Litig., 487 F. Supp. 2d 1132, 1140 n.15 (N.D. Cal. 2007); Welling v.
27   Alexy, 155 F.R.D. 654, 658 (N.D. Cal. 1994) (a defense arises where “a plaintiff buys stock not
     because it is a strong performer on the market, but rather, to have a ‘piece of the action’ in the
28   event a lawsuit arises”).
                                                                            OPPOSITION TO MOTION FOR
                                                       8                         CLASS CERTIFICATION
                                                                                     08-CV-1689-H (RBB)
 1   to assist in the drafting of the responses and relied solely on counsel to verify their accuracy. (Id.,
 2   at 132:7-140:15.) Western Penn’s designee never saw a document that had not already been
 3   completed by its counsel. (Id. at 102:12-105:16.) Western Penn’s designee did not do anything to
 4   verify the accuracy of any interrogatory responses, and recalled almost no specifics about anything
 5   Western Penn did to assist in the prosecution of this action. (Id. at 102:12-106:5; 132:7-140.15.)
 6   C.      An Insider Trading Class Should Not Be Certified Because Lead Plaintiffs Lack
             Standing to Assert the Insider Trading Claims.
 7

 8           A class representative must demonstrate individual standing to pursue the claims asserted

 9   on behalf of a class. Simon v. E. Ky. Welfare Rights Org., 426 U.S. 26, 40 n.20 (1976). To have

10   standing to pursue an insider trading claim, plaintiffs must have traded contemporaneously with

11   defendants. Neubronner v. Milken, 6 F.3d 666, 670 (9th Cir. 1993). Here, Lead Plaintiffs do not

12   have standing to pursue their insider trading claims against any of the defendants because their

13   purchases were not contemporaneous with defendants’ sales. Moreover, the nature of the sales,

14   trading volumes, and purchase and sales prices only serve to confirm that Lead Plaintiffs could not

15   have traded with defendants. Without standing, an insider trading class cannot be certified.

16           1.      The Contemporaneous Trading Requirement Is a Privity Substitute, Intended
                     to Filter Out Plaintiffs Who Did Not Trade With Defendants.
17
             The contemporaneous trading rule is a “judicially-created standing requirement,” which
18
     requires a plaintiff asserting an insider trading claim to have purchased a company’s stock
19
     “contemporaneously” with each of the selling individuals against whom they are pursuing the
20
     claim. Brody v. Transitional Hosps. Corp., 280 F.3d 997, 1001 (9th Cir. 2002); Neubronner, 6
21
     F.3d at 670 & n.5. “Since identifying the party in actual privity with the insider is virtually
22
     impossible in transactions occurring on an anonymous public market,” the “requirement of
23
     contemporaneousness developed as a proxy for the traditional requirement of contractual privity
24
     between plaintiffs and defendants.” Buban v. O’Brien, No. C94-0331 FMS, 1994 U.S. Dist.
25
     LEXIS 8643, at *7-8 (N.D. Cal. June 22, 1994), citing William Wang, The Contemporaneous
26
     Traders Who Can Sue an Inside Trader, 38 Hastings L. Rev. 1175 (1987).
27

28
                                                                            OPPOSITION TO MOTION FOR
                                                       12                        CLASS CERTIFICATION
                                                                                     08-CV-1689-H (RBB)
 1           In keeping with its function as a privity substitute, the “contemporaneous trading rule
 2   ensures that only private parties who have traded with someone who had an unfair advantage will
 3   be able to maintain insider trading claims.” Neubronner, 6 F.3d at 670. Consistent with the
 4   directive that the contemporaneous period be determined on a case-by-case basis, the Ninth Circuit
 5   has not delineated a fixed time period for contemporaneous trading, but has emphatically rejected
 6   the use of any expanded time period which would “gut” the rule’s premise function – “the need to
 7   filter out plaintiffs who could not possibly have traded with the insider, given the manner in which
 8   public trades are transacted.” Brody, 280 F.3d at 1002 (emphasis added).10
 9           2.      Given the Manner in Which Trades on National Exchanges Are Transacted,
                     the Contemporaneous Trading Period Must Be Limited to One Day.
10

11           Admittedly, case law does diverge. However, the better reasoned line of authority limits

12   the contemporaneous trading period to the same day as the insider’s trade. Judge Wilson has

13   explained that this “is the only reasonable standard given the way the market functions,” and the

14   rule’s function as a privity substitute. In re AST Research Sec. Litig., 887 F. Supp. 231, 234 (C.D.

15   Cal. 1995); see also In re Aldus Sec. Litig., No. C92-885C, 1993 U.S. Dist. LEXIS 5008, at *22

16   (W.D. Wash. Mar. 1, 1993) (“given the unquestionably high volume of Aldus stock traded during

17   the period in question, it is clear that plaintiffs did not trade with defendants…as no plaintiffs

18   traded on the days of the allegedly wrongful trades.”). Because the market functions as an

19   auction, stocks sold are absorbed into the market on the same day that they are sold, and cannot

20   have been purchased by a plaintiff trading on a later date. As Judge Wilson explained:

21           Stock trading on NASDAQ occurs auction style: stock is sold to the highest
             bidder and purchased from the lowest offeror in every transaction. Thus,
22           supply and demand determine whether stock transactions occur. Thus, the
             fact that defendants “sold” shares over a seven day period.. . necessarily
23           means that there were purchasers for the shares sold on each of these days.…
             If there were no takers on these days, no stock transactions would have taken
24           place.
             Plaintiff Marschall’s purchase of AST stock was not made on any of the days
25           the named defendants sold shares. This necessarily means that [plaintiff]
26
            10
27             Of course, the insider must have sold before the plaintiff purchased in order for there to
     be a possibility that the trade was between them. See In re Countrywide Fin. Corp. Sec. Litig.,
28   588 F. Supp. 2d 1132, 1204 (C.D. Cal. 2008).
                                                                            OPPOSITION TO MOTION FOR
                                                       13                        CLASS CERTIFICATION
                                                                                     08-CV-1689-H (RBB)
 1           could not have purchased any of the shares sold by the defendants, since the
             market had already absorbed these shares.
 2
     AST, 887 F. Supp. at 234.
 3
             “Courts which have adopted th[e] same day standard have concluded that where a large
 4
     volume of securities are sold on a daily basis on a national exchange, plaintiffs could not have
 5
     realistically traded with a defendant unless they traded on the same day.” In re Fed. Nat’l
 6
     Mortgage Ass’n Sec. Deriv. & ERISA Litig., 503 F. Supp. 2d 25, 47 (D.D.C. 2007) (emphasis in
 7
     original); see also In re MicroStrategy, Inc. Sec. Litig., 115 F. Supp. 2d 620, 663 (E.D. Va. 2000)
 8
     (one-day contemporaneous trading period applied where stock traded on NASDAQ and purchase
 9
     and sales prices of plaintiffs and defendants differed); Aldus, 1993 U.S. Dist. LEXIS 5008, at *22
10
     (dismissing claims for lack of standing, and stating that “given the unquestionably high volume of
11
     Aldus stock traded daily during the period in question” it is “clear that plaintiffs did not trade with
12
     [all but one of the defendants] as no plaintiffs traded on the days of the allegedly wrongful
13
     trades”).
14
             More recently, Judge Pfaelzer recognized the “emerging consensus” that
15
     contemporaneous purchases in actively traded markets occur on the same day after the insider
16
     sold. Countrywide, 588 F. Supp. 2d at 1204. Indeed,
17
             an evolution of the contemporaneity requirement to require a shorter temporal
18           separation between the trades of investors and insiders is reasonable, if not
             inevitable, as the modern realities of the securities market support an
19           increasingly strict application of contemporaneity in order to satisfy the
             requirement’s privity substitute function and to guard against “making the
20           insider liable to all the world.”
21   MicroStrategy, 115 F. Supp. 2d at 663 (citations omitted).11
            11
22              To the extent that plaintiffs rely on In re Applied Micro Circuits Corp. Securities
     Litigation, No. 01CV0649 K (AJB), 2003 U.S. Dist. LEXIS 14492, at *16-17 (S.D. Cal. July 15,
23   2003), for the proposition that the Court cannot rule on the appropriate period of
     contemporaneousness on a motion for class certification because of the need to resolve questions
24   of fact, Applied Micro misapplied binding Ninth Circuit precedent and cannot be followed.
     Contemporaneousness is a question of standing to assert a claim, see Brody, 280 F.3d at 1001, and
25   “[s]tanding is a question of law,” Hells Canyon Preservation Council v. U.S. Forest Serv., 593
     F.3d 923, 929 (9th Cir. 2010). Moreover, to the extent that the determination of the period for
26   contemporaneous trading requires analysis of fact, standing of the proposed class representatives
     is a prerequisite for certification under Rule 23, and such factual issues must be resolved in ruling
27   on class certification. Armstrong v. Davis, 275 F.3d 849, 860 (9th Cir. 2001) (proposed class
     representative must have standing); Hanon, 976 F.2d at 509 (court should resolve factual issues
28   that relate to Rule 23 requirements).
                                                                            OPPOSITION TO MOTION FOR
                                                      14                         CLASS CERTIFICATION
                                                                                     08-CV-1689-H (RBB)
 1           3.      For Purposes of Standing, the Court Need Not Define a Contemporaneous
                     Trading Period Where It Is Apparent From Market Realities that Plaintiffs
 2                   Did Not Trade With Any Defendant.
 3           In the Ninth Circuit, the touchstone inquiry is whether plaintiffs could have traded with
 4   defendants, “given the way the market operates.” Brody, 280 F.3d at 1002. Thus, where the
 5   parties could not have traded with each other, the Court should reject a plaintiff’s claim. See id.
 6   Both before and after Brody, district courts have dismissed plaintiffs’ claims as a matter of law
 7   where it is apparent from the market realities that the parties could not actually have traded with
 8   each other. See Buban, 1994 U.S. Dist. LEXIS 8643, at *3; In re Connectics Corp. Sec. Litig., No.
 9   C 07-02940 SI, 2008 U.S. Dist. LEXIS 62515, at *44-45 (N.D. Cal. Aug. 14, 2008).
10
             4.      Lead Plaintiffs, Who Purchased on Different Days and More than a Million
11                   Share Sales After Defendants Sold, Did Not Trade Contemporaneously With
                     Any Defendant.
12
             Each Lead Plaintiff must satisfy the contemporaneous trading requirement with regard to
13
     each of the selling defendants. In other words, establishing a contemporaneous trade vis-à-vis one
14
     defendant does not satisfy the contemporaneous trading requirements vis-à-vis any other
15
     defendant. See In re Connetics Corp., 2008 U.S. Dist. LEXIS 62515, at *41-42.
16
                            (a)      During the Class Period, Lead Plaintiffs Did Not Trade Within
17                                   One Day of Any Defendant.
18           Plumbers lacks standing to assert an insider trading claim because it did not purchase,
19   within the class period, any Novatel stock before the Sprint transition rumor allegedly became
20   public on July 20, 2007.12 For Plumbers, the Court need not even reach the issue of
21   contemporaneous trading. (Compare Britton Decl., Ex. 3, with CC, ¶ 116.) Indeed, Plumbers’
22   first class period purchase of Novatel stock was not until May 28, 2008 – more than nine months
23   after the last alleged inside sale. As a matter of law, Plumbers could not have traded
24   contemporaneously with any insider sale. Brody, 280 F.3d at 1002 (rejecting two month period
25   for contemporaneous trading).
26          12
              Because liability for insider trading is predicated on sales of stock based on material,
27   nonpublic information, a claim for insider trading cannot exist after the material, nonpublic
     information becomes public. O’Hagan, 521 U.S. at 652; see also Countrywide, 588 F. Supp. 2d at
28   1204.
                                                                           OPPOSITION TO MOTION FOR
                                                      15                        CLASS CERTIFICATION
                                                                                    08-CV-1689-H (RBB)
 1           Western Penn also lacks standing to assert an insider trading claim because its purchases
 2   of Novatel stock were not contemporaneous with sales by any defendant. Prior to the rumor of the
 3   Sprint transition, there were no purchases by Western Penn that could meet the contemporaneous
 4   trading requirement vis-à-vis any individual defendant’s stock sales. None occurred on the same
 5   trading day, or even the day after. (Compare Britton Decl., Ex. 3, with CC, ¶ 116.)
 6                          (b)     The Nature of the Transactions in the Market and Heavy
                                    Trading Volumes Establish that Lead Plaintiffs Could Not
 7                                  Have Traded With Any Defendant.
 8
             As the emerging consensus of courts have recognized, shares traded in heavy volumes on
 9
     a national exchange make it a certainty that trades occurring more than a day apart were truly
10
     contemporaneous. See Countrywide, 588 F. Supp. 2d at 1204; AST, 887 F. Supp. at 234; Buban,
11
     1994 U.S. Dist. LEXIS 8643, at *3. The market realities here – in particular, the auction style of
12
     trading on NASDAQ and the high trading volumes – establish that Western Penn could not have
13
     traded with any defendant. Millions of shares were traded at the time of defendants’ sales and
14
     Western Penn’s purchases, meaning that there were countless interceding sales separating the
15
     transactions where defendants sold their stock from the transactions in which plaintiffs bought
16
     their stock. Indeed, plaintiffs claim that “Novatel had more than 31 million shares of common
17
     stock outstanding during the Class Period, a reported trading volume of more than 556 million
18
     shares, and an average reported daily trading volume of more than 1.28 million shares,” which
19
     they describe as an “enormous trading volume.” (Plaintiffs’ Memo., at 10.) Trading volumes a
20
     fraction of those present here have been found to negate a finding of contemporaneous trading.
21
     See, e.g., Buban, 1994 U.S. Dist. LEXIS 8643, at *3 (140,000 shares traded on the date of
22
     defendant’s last sale); see also Aldus, 1993 U.S. Dist. LEXIS 5008, at *223 n.6 (average weekly
23
     trading volume of 1,349,498 shares).
24
             Expanding the period of contemporaneous trading past the same day as defendants’ trades
25
     would reverse the rule’s intended functions. Far from guarding against making defendants liable
26
     to all the world, see Microstrategy, 115 F. Supp. 2d at 663, Brody, 280 F.3d at 1001, an expanded
27
     interpretation of contemporaneousness would potentially expose defendants to liability to
28
                                                                          OPPOSITION TO MOTION FOR
                                                     16                        CLASS CERTIFICATION
                                                                                   08-CV-1689-H (RBB)
 1   countless plaintiffs with whom they could not possibly have traded. Lead Plaintiffs admit that
 2   their proposed class period sweeps in the trades of more than 556 million shares. (Plaintiffs’
 3   Memo., at 10.) It is impossible for those 556 million shares to have been purchased from
 4   defendants: defendants are alleged to have sold 1,169,511 shares before the rumored Sprint
 5   transition allegedly became known to the public, less than one-tenth of one percent of the volume
 6   during the proposed class period. (CC, ¶ 116.) See also Fed. Nat’l Mortg., 503 F. Supp. 2d. at 47
 7   (expanding contemporaneousness “beyond same day trades would, in effect, permit plaintiffs to
 8   assert claims where it is implausible that they traded with defendants.”). Expanding the
 9   contemporaneous trading period beyond same day purchasers to include hundreds of millions of
10   non-contemporaneous trades would make a mockery of the rule’s origin as a privity substitute and
11   gut the rule’s function to “filter out plaintiffs who could not possibly have traded with insider,
12   given the manner in which public trades are transacted.” Brody, 280 F.3d at 1002 (emphasis
13   added).
14             Lead Plaintiffs undoubtedly will argue, albeit incorrectly, that In re Petco Animal Supplies
15   Inc. Securities Litigation, No. 05-CV-0823-H (RBB), 2006 U.S. Dist. LEXIS 97927 (S.D. Cal.
16   July 31, 2006), established a hard and fast eight-day rule for contemporaneous trading. To the
17   contrary, the Court struck a balance in that case based on the facts and circumstances at bar, 2006
18   U.S. Dist. LEXIS 97927, at *114, which did not include evidence of market data which refuted the
19   possibility of a contemporaneous trade. Given the way the market for Novatel stock functioned,
20   with “enormous” trading volume and price differentials between Western Penn’s purchases and
21   defendants’ sales, it is abundantly clear that Western Penn did not trade with any defendant. Thus,
22   “there is no reason for the Court to apply a more liberal standard to determine
23   contemporaneousness.” Buban, 1994 U.S. Dist. LEXIS 8643, *8.13
24

25

26             13
               Even under the standard for contemporaneousness adopted by the Court in Petco, neither
27   Lead Plaintiff has standing to pursue an insider trading claim against Mr. Leparulo, as the shortest
     period between a sale by Mr. Leparulo and a purchase by a Lead Plaintiff was 15 days. (CC, ¶
28   116; Britton Decl., Ex. 3, at 540.)
                                                                            OPPOSITION TO MOTION FOR
                                                       17                        CLASS CERTIFICATION
                                                                                     08-CV-1689-H (RBB)
 1           5.      If An Insider Trading Class Is Certified, It Should Be Limited to Those Who
                     Purchased Novatel Stock on the Same Day of a Sale By a Defendant From
 2                   May 18, 2007 Until July 18, 2007.
 3                          (a)     Any Insider Trading Class Cannot Begin Until May 18, 2007.
 4           Only Messrs. Hadley and Souissi sold Novatel stock within the putative class period prior
 5   to May 18, 2007. (See CC, at ¶ 116.) These sales could not have been based on the material
 6   nonpublic information of a rumored Sprint transition, because they were made pursuant to Rule
 7   10b5-1 sales plans adopted in 2006. (Biffar Decl., Ex. X, at 647.) Not only were these plans
 8   adopted and publicly announced before the February 2007 start of the class period sought by
 9   plaintiffs, but also before the Complaint alleges that defendants traded on inside information
10   regarding the rumored Sprint transition. (See CC, ¶ 121 (alleging that defendants knew of the
11   Sprint cancellation “when they sold their stock”); CC, ¶ 116 (identifying first sale placed at issue
12   by plaintiffs as occurring in February 2007).) These plans provide an affirmative defense to a
13   claim of insider trading for sales pursuant to the plans. See 17 C.F.R. § 240.10b5-1(c)(1); see also
14   In re Spectrum Brands, Inc. Sec. Litig., 461 F. Supp. 2d 1297, 1317 (N.D. Ga. 2006).14
15   Accordingly, any insider trading class cannot begin until May 18, 2007, the date of the first sale
16   not conducted pursuant to a Rule 10b5-1 sales plan adopted or amended before defendants are
17   alleged to have known of the rumored Sprint transition. (Biffar Decl., Exs. X, at 647; Z, at 668.)
18
                            (b)     The Insider Trading Class Should End on July 18, 2007 and, in
19                                  Any Event, No Later than July 20, 2007 Because Plaintiffs
                                    Allege the Market Learned of the Rumored Sprint Transition
20                                  on that Date.

21           Liability for insider trading is predicated on sales of stock based on material, nonpublic

22   information. It should be axiomatic that a claim for insider trading cannot exist after the material,

23   nonpublic information becomes public. O’Hagan, 521 U.S. at 652; see also Countrywide, 588 F.

24   Supp. 2d at 1204.

25
            14
26             In opposing defendants’ motions to dismiss, plaintiffs argued that the sales plans that
     were adopted or amended in 2007 cannot be the basis for a pleading-stage defense. The sales of
27   Messrs. Hadley and Souissi before May 18, 2007 were not made pursuant to the 2007 plans, but
     pursuant to plans adopted in 2006, the propriety of which plaintiffs have never called into
28   question.
                                                                           OPPOSITION TO MOTION FOR
                                                      18                        CLASS CERTIFICATION
                                                                                    08-CV-1689-H (RBB)
 1           Lead Plaintiffs’ verified interrogatory responses confirm that the rumored Sprint transition
 2   is the sole basis for their insider trading claim. (Biffar Decl., ¶ 11, Exs. V, at 626-28; W, at 638-
 3   40.) The class period for the insider trading claim must close no later than the date on which the
 4   rumored Sprint transition became public knowledge. According to the Complaint, this occurred
 5   on July 20, 2007. (CC, ¶ 125.)
 6           However, the analyst, Anthony Stoss, whose report is the entire basis for this allegation in
 7   the Complaint, testified at deposition that the rumor had been circulating for “a few days” prior to
 8   July 20, 2007, and recalled reports substantially similar to those introduced at deposition, dating
 9   back to July 18, 2007. (See Biffar Decl., Ex. I, Stoss Depo., at 25:4-27:6, Exs. 4, 15, 16.) Mr.
10   Stoss testified that “there were a bunch of articles talking about” the rumor, and that the rumor had
11   been publicly reported for at least “a few days” by July 20, 2007. (See id. at 25:4-18, 27:3-12.)
12   For example, the website http://www.evdoinfo.com published a news article on July 18, 2007
13   reporting the exact same information about a rumor, even using the phrase “End of Life” that the
14   Craig-Hallum report adopted two days later. (See Biffar Decl., Ex. L.)
15           Since the rumored Sprint transition was public knowledge no later than July 18, 2007, any
16   sales after that time could not have been on the basis of insider information, and the insider trading
17   class must be cutoff by July 18, 2007. Even under plaintiffs’ theory, the class must end no later
18   than July 20, 2007.
19   D.      The Misrepresentation Class is Overbroad and Should Be Redrawn.
20
             1.      “In-and-Out” Traders Must Be Excluded.
21
             To have suffered a loss and be able to maintain a cause of action, a trader must have
22
     purchased after a fraudulent representation or non-disclosure and also sold after the subsequent
23
     corresponding corrective disclosure. “In-and-out traders,” who both purchased and sold a stock
24
     while its value was inflated, do not suffer any damages, and as such must be excluded from the
25
     class. See In re Flag Telecom Holdings, Ltd. Sec. Litig., 574 F.3d 29, 40 (2d Cir. 2009) (vacating
26
     order granting class certification to the extent that it included in-and-out traders); In re
27
     Cornerstone Propane Partners, L.P. Sec. Litig., No. C 03-2522 MHP, 2006 U.S. Dist. LEXIS
28
                                                                             OPPOSITION TO MOTION FOR
                                                       19                         CLASS CERTIFICATION
                                                                                      08-CV-1689-H (RBB)
 1   25819, at *29-30 (N.D. Cal. May 3, 2006) (amending class definition to exclude in-and-out
 2   traders; “since corrective disclosure is alleged to have occurred only from July 2001 onwards,
 3   under [Dura Pharmaceuticals, Inc. v. Broudo, 544 U.S. 336 (2005)] there can be no loss causation
 4   for plaintiffs who purchased and sold stock at the inflated share price prior to that disclosure, and
 5   thus these plaintiffs may not recover at all.”).
 6           2.      No Fraud on the Market Presumption Applies to the July 20, 2007 and
                     November 10, 2008 Disclosures.
 7

 8           Regardless of the number of classes, defendants are entitled to rebut the fraud on the

 9   market presumption to defeat class certification, in whole or in part, through expert testimony. See

10   In re Salomon Analyst Metromedia Litig., 544 F.3d 474, 483 (2d Cir. 2008) (quoting Basic v.

11   Levinson, 485 U.S. 224, 248 (1988)); In re Am. Int’l Group, Inc. Sec. Litig. (“AIG”), --- F.R.D. ---

12   , No. 04 Civ. 8141 (DAB), 2010 U.S. Dist. LEXIS 15453, at *82-105 (S.D.N.Y. Feb. 22, 2010).15

13           Plaintiffs are proceeding under the fraud on the market theory, which was adopted by the

14   Supreme Court in Basic, and allows plaintiffs in securities class actions to not have to bear the

15   burden of establishing direct reliance. Basic, 485 U.S. at 246-47; see also Desai v. Deutsche Bank

16   Sec. Ltd., 573 F.3d 931, 940 (9th Cir. 2009).

17           Defendants are, of course, entitled to present evidence to rebut the presumption. As the

18   Supreme Court held, “[a]ny showing that severs the link between the alleged misrepresentation

19   and either the price received (or paid) by the plaintiff, or his decision to trade at a fair market

20   price, will be sufficient to rebut the presumption of reliance.” Basic, 485 U.S. at 248; see also

21   AIG, 2010 U.S. Dist. LEXIS 15453, at *82. Basic explained that a successful rebuttal defeats

22   class certification by defeating the Rule 23(b)(3) predominance requirement. Basic, 485 U.S. at

23
             15
24              The Ninth Circuit has not addressed the Fifth Circuit’s decision in Oscar Private Equity
     Investments v. Allegiance Telecom, Inc., 487 F.3d 261 (5th Cir. 2007), which held that plaintiffs in
25   a securities class action must establish loss causation at the class certification stage to avail
     themselves of the fraud on the market theory. See id. at 269. Although Oscar was correctly
26   decided and could be applied here, the Court need not decide whether to adopt Oscar. Rather, the
     analysis applied in AIG is used by courts that do not follow Oscar. AIG, 2010 U.S. Dist. LEXIS
27
     15453, at *80-81 (rejecting Oscar). Defendants reserve the right to raise Oscar at a later juncture.
28
                                                                             OPPOSITION TO MOTION FOR
                                                        20                        CLASS CERTIFICATION
                                                                                      08-CV-1689-H (RBB)
 1   242-43. A defendant can rebut the presumption through the use of expert testimony. See AIG,
 2   2010 U.S. Dist. LEXIS 15453, at *83-84.
 3           Here, Lead Plaintiffs and defendants have both submitted expert testimony. In support of
 4   class certification, Lead Plaintiffs have submitted the declaration of Mr. Steinholt, a chartered
 5   financial analyst. Defendants have submitted the declaration of Dr. Tabak, who holds a Ph.D in
 6   Economics from Harvard University.
 7           Dr. Tabak’s analysis confirms that plaintiffs will not be able to demonstrate loss causation
 8   for two of the dates on which plaintiffs allege corrective disclosures occurred, and refutes the
 9   fraud on the market theory for those dates. First, Lead Plaintiffs’ expert did not find a causal
10   relationship between disclosure and a falling stock price on November 10, 2008. Despite being
11   asked to opine on whether there existed a causal relationship between misrepresentations and
12   economic losses during the entire putative class period, Lead Plaintiffs’ expert was unable to tie
13   any purchases after August 19, 2008 to a corrective disclosure and a stock drop. To the contrary,
14   Lead Plaintiffs’ expert’s event study actually demonstrates that “the November 10, 2008 price
15   movement was statistically insignificant at standard levels, thereby providing affirmative evidence
16   that any class period should not extend beyond August 19, 2008.” (Tabak Decl., at 2.)
17           Second, Dr. Tabak refutes loss causation, and the fraud on the market theory, for the stock
18   price movement on July 20, 2007, the rumored Sprint transition disclosure date that Mr. Steinholt
19   discusses in his declaration. Dr. Tabak explains that Mr. Steinholt applied a lower and not
20   commonly accepted confidence interval of 90%, as opposed to the standard confidence intervals of
21   99% or 95%. The Court will note that Mr. Steinholt applied the correct confidence intervals to the
22   stock price movements on February 20, 2008, April 14, 2008, and August 19, 2008. (Tabak Decl.,
23   ¶¶ 20-28.) In other words, Mr. Steinholt cheated to find statistical significance on July 20, 2007.
24   Had Mr. Steinholt used standard accepted criteria, the stock price movement on July 20, 2007
25

26

27

28
                                                                           OPPOSITION TO MOTION FOR
                                                      21                        CLASS CERTIFICATION
                                                                                    08-CV-1689-H (RBB)
 1   would not have been considered statistically significant and, thus, he could not have offered any
 2   support for loss causation. (Id., ¶ 28.)16
 3           This scenario bears a striking resemblance to the fraud on the market analysis in AIG.
 4   There, at class certification, plaintiffs attempted to support their putative class period with an
 5   expert report containing an event study and loss causation analysis for each of the alleged
 6   corrective disclosure dates. However, the AIG plaintiffs’ expert, like Mr. Steinholt here, drew
 7   conclusions for two dates in question based on a 10% significance level (i.e., a 90% confidence
 8   interval), which conflicts with standard statistical methodology that “5% [i.e., a 95% confidence
 9   interval] is the minimum level of statistical significance that conventional statistical methodology
10   would accept in making a finding that the decrease in stock price is attributable to AIG’s
11   disclosures.” AIG, 2010 U.S. Dist. LEXIS 15453, at *99. The court held that defendants, through
12   their challenge to plaintiffs’ methodology, had rebutted the fraud on the market presumption for
13   the dates in question, and, in turn, limited class certification. Id. at *103-04. The same result
14   follows here.
15           Because there is no support for Lead Plaintiffs’ attempt to link a stock drop with
16   disclosures of “relevant truth” on two of the purported corrective disclosures dates – July 20, 2007
17   and November 10, 2008 – the fraud on the market presumption does not apply to those dates.
18   Without the fraud on the market presumption, individualized issues will necessarily predominate
19   over common questions concerning the alleged misrepresentations associated with alleged losses
20   occurring on July 20, 2007 and November 10, 2008. See Basic, 485 U.S. at 248. Thus, any class
21   should only include purchasers within the class period who held over one of the other three alleged
22   corrective disclosure dates: February 20, 2008, April 14, 2008 or August 19, 2008.
23

24

25
            16
26             For this reason, defendants object to and move to strike this aspect of Mr. Steinholt’s
     testimony. Fed. R. Evid. 702; In re Williams Sec. Litig.-WCG Subclass, 558 F.3d 1130, 1139-43
27   (10th Cir. 2009) (affirming exclusion of expert witness testimony purporting to show loss
     causation because methodology was not reliable). Defendants reserve the right to challenge Mr.
28   Steinholt’s expert credentials at a later juncture.
                                                                            OPPOSITION TO MOTION FOR
                                                       22                        CLASS CERTIFICATION
                                                                                     08-CV-1689-H (RBB)
 1           3.      Establishing the End of the Misrepresentation Class.
 2                          (a)     The Class Should Not Include Purchasers After Novatel
                                    Disclosed It Would Be Unable to Timely File Its Form 10-Q on
 3                                  May 13, 2008.
 4
             According to Lead Plaintiffs, Novatel released disappointing guidance and at the same
 5
     time made “partial revelations” of the truth regarding its “product mix and demand for [its]
 6
     products” on February 20, 2008, causing its stock price to collapse by 23% the following day.
 7
     (CC, ¶ 126.) These disclosures allegedly revealed that Novatel “did not have a competitive
 8
     product” (CC, ¶ 7), and analysts soon afterwards purportedly confirmed what plaintiffs had
 9
     suspected, i.e., that Novatel was “shipping product early” to increase its results (CC, ¶¶ 30-31).
10
     Novatel later released disappointing first quarter 2008 results on April 14, 2008, which plaintiffs
11
     allege “shocked the market” and also revealed the true state of demand for Novatel’s products.
12
     (CC, ¶¶ 33, 76, 127.) Then, on May 13, 2008, Novatel announced that it would be unable to file
13
     its Form 10-Q for the first quarter of 2008. (CC, ¶ 35.) Novatel also announced, in the same
14
     filing, that its audit committee had voluntarily undertaken an enhanced review of the accounting
15
     for a specific customer contract. (Biffar Decl., Ex. AA, at 672.) With all of these red flags, Lead
16
     Plaintiffs were warned and accepted the risks associated with further investments. It is black letter
17
     law that “a ‘reasonable investor’ is neither an ostrich, hiding her head in the sand from relevant
18
     information, nor a child, unable to understand the facts and risks of investing.” Greenhouse v.
19
     MCG Capital Corp., 392 F.3d 650, 656 (4th Cir. 2004). Common questions of law or fact arising
20
     from the misrepresentations or omissions will not predominate as to those who purchased after
21
     May 13, 2008. Once the red flags were raised, the class must end.
22
                            (b)     Lead Plaintiffs’ Expert Only Supports a Class Up to August 19,
23                                  2008.

24           The class period cannot be extended to November 10, 2008, as Lead Plaintiffs argue, for
25   the simple reason that there was no curative disclosure on that date. Plaintiffs have proffered an
26   expert to analyze the dates on which plaintiffs claim the “relevant truth” was revealed in order to
27   opine on whether class members suffered economic losses. (Steinholt Decl., ¶¶ 4, 37-38, 54.) Mr.
28
                                                                           OPPOSITION TO MOTION FOR
                                                      23                        CLASS CERTIFICATION
                                                                                    08-CV-1689-H (RBB)
 1   Steinholt makes no mention of a disclosure of “relevant truth” on November 10, 2008 anywhere in
 2   his analysis. In fact, he pegs the last corrective disclosure on August 19, 2008, when Novatel
 3   reported preliminary second quarter 2008 results that were below expectations, and Novatel’s
 4   stock price fell the following day.
 5           Pushing beyond their own expert into the realm of gross conjecture, plaintiffs argue that
 6   the class period should extend to November 10, 2008 because “new information about Novatel’s
 7   internal controls disclosed on November 10, 2008 damaged investors.” (Plaintiffs’ Memo., at 21.)
 8   This is not sufficient. Under any rational reading of the case law, a “curative disclosure” actually
 9   must be curative, i.e., it must correct a falsehood that was present in the market. Dura, 544 U.S. at
10   343; Lentell v. Merrill Lynch & Co., Inc., 396 F.3d 161, 175 n.4 (2d Cir. 2005); In re Swift Trans.
11   Co. Sec. Litig., No. CV04-2435PHX-NVW, 2006 WL 1805578, at *5 (D. Ariz. Mar. 29, 2008).
12   No new curative disclosures occurred on November 10, 2008. It speaks volumes that even Lead
13   Plaintiffs’ expert would not go that far.
14                           (c)     At the Latest, the Class Must End When Litigation
                                     Commenced.
15

16           The class period cannot possibly end later than September 15, 2008, the date on which the

17   first complaint in this action (the “Backe Complaint”) was filed. (Dkt. No. 1.) See In re CMS

18   Energy Sec. Litig., 236 F.R.D. 338, 342 (E.D. Mich. 2006); Dorchester Investors v. Peak Trends

19   Trust, No. 99 Civ. 4696(LMM), 2002 U.S. Dist. LEXIS 3067, at *16 (S.D.N.Y. Feb. 26, 2002). In

20   CMS Energy, the Court expressed concerns that class members purchasing after a complaint was

21   filed were purchasing a lawsuit. 236 F.R.D. at 342. Dorchester indicated that the filing of the

22   complaint acted as a corrective disclosure. 2002 U.S. Dist. LEXIS 3067, at *16.

23           CMS Energy and Dorchester apply here, and dictate a class period ending no later than

24   September 15, 2008. The Backe Complaint, filed on September 15, 2008, placed at issue the $ 3.4

25   million of the income reported for the first quarter of 2008, and that the Board was investigating

26   control deficiencies. (Backe Complaint, ¶ 47.) The pleading specifically alleges that “the

27   Company improperly recognized revenue … and misstated its financial results during the Class

28   Period,” and that “the Company lacked adequate internal and financial controls.” (Id., at ¶ 5.)
                                                                          OPPOSITION TO MOTION FOR
                                                     24                        CLASS CERTIFICATION
                                                                                   08-CV-1689-H (RBB)
 1   The Harms complaint, filed by Coughlin Stoia three days later, makes similar allegations. (Harms
 2   Complaint, ¶¶ 41-42.) Allowing a class period to extend beyond September 15, 2008 simply
 3   allows shareholders to buy a lawsuit.
 4                                           V. CONCLUSION
 5           The Court should deny Lead Plaintiffs’ motion for class certification. In the alternative,
 6   the Court should certify two classes as follows:
 7           (1) an insider trading class consisting of those who purchased Novatel stock on May 18,
 8   2007; May 29, 2007; May 30, 2007; June 1, 2007; June 5, 2007; July 2, 2007; July 3, 2007; July 5,
 9   2007; July 6, 2007; July 16, 2007; and July 17, 2007; and
10           (2) a misrepresentation class consisting of those who purchased Novatel stock and were
11   damaged by one or more of the misrepresentations alleged in the Complaint. The class period
12   should begin no earlier than February 27, 2007 and end no later than May 13, 2008, and should
13   only include purchasers of Novatel stock who held over one of the corrective disclosure dates
14   alleged to have occurred within the class period, i.e., February 20, 2008 or April 14, 2008.
15   Alternatively, the class period should end no later than August 19, 2008 or September 15, 2008,
16   and should only include purchasers of Novatel stock who held over one of the corrective
17   disclosure dates alleged to have occurred within the class period, i.e., February 20, 2008, April 14,
18   2008 or August 19, 2008.
19   Dated: March 15, 2010                               Respectfully submitted,
20                                                       Jones Day
21

22                                                       By: s/Eric Landau
                                                             Eric Landau
23
                                                         Attorneys for defendants
24

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28
                                                                           OPPOSITION TO MOTION FOR
                                                        25                      CLASS CERTIFICATION
                                                                                    08-CV-1689-H (RBB)
